Case 9:19-cv-81160-RS Document 220-2 Entered on FLSD Docket 03/05/2020 Page 1 of 51




                          EXHIBIT 2
Case 9:19-cv-81160-RS Document 220-2 Entered on FLSD Docket 03/05/2020 Page 2 of 51
                                                                  555 Eleventh Street, N.W., Suite 1000
                                                                  Washington, D.C. 20004-1304
                                                                  Tel: +1.202.637.2200 Fax: +1.202.637.2201
                                                                  www.lw.com

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                                                                  Beijing         Moscow
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                                                                  Dubai           Riyadh
                                                                  Düsseldorf      San Diego
   February 11, 2020                                              Frankfurt       San Francisco
                                                                  Hamburg         Seoul
                                                                  Hong Kong       Shanghai
                                                                  Houston         Silicon Valley
                                                                  London          Singapore
                                                                  Los Angeles     Tokyo
   VIA PERSONAL SERVICE                                           Madrid          Washington, D.C.
                                                                  Milan


   Azimuth Security, LLC
   c/o CT Corporation System (Registered Agent)
   1200 S. Pine Island Dr.
   Plantation, FL 33324

                 Re:     Apple Inc. v. Corellium, LLC, 9:19-cv-81160-RS (S.D. Fla.)


   Dear Representative of Azimuth Security, LLC:

           I am an attorney for Apple, Inc. As indicated in the enclosed subpoenas, Apple seeks the
   production of documents in the possession, custody, or control of Azimuth Security, LLC related
   to the above-referenced litigation, as well as testimony at deposition. As indicated in the
   subpoena, production is called for by February 25, 2020 and the deposition is scheduled for
   March 6, 2020. However, if those dates are inconvenient, we would be happy to discuss timing
   and any other issues arising in connection with these subpoenas. I have also enclosed a copy of
   the governing protective order in this case.

          Please do not hesitate to reach out with any questions regarding the subpoenas or
   otherwise. You can reach me at (202) 637-2303. I look forward to hearing from you.



                                                       Best regards,



                                                       Elana Nightingale Dawson
                                                       of LATHAM & WATKINS LLP
    Case 9:19-cv-81160-RS Document 220-2 Entered on FLSD Docket 03/05/2020 Page 3 of 51
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                               Defendant

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                                                        (Name of person to whom this subpoena is directed)

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                                    CLERK OF COURT
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                                            Signature of Clerk or Deputy Clerk                                          Attorney’s signature


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   Case 9:19-cv-81160-RS Document 220-2 Entered on FLSD Docket 03/05/2020 Page 4 of 51
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                                                                                                    Server’s signature



                                                                                                  Printed name and title




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   Case 9:19-cv-81160-RS Document 220-2 Entered on FLSD Docket 03/05/2020 Page 5 of 51
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  For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                 VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
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  Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
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  Quashing or Modifying a Subpoena.                                             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
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Case 9:19-cv-81160-RS Document 220-2 Entered on FLSD Docket 03/05/2020 Page 6 of 51




                                         ATTACHMENT A
                                     TO DOCUMENT SUBPOENA

                                              DEFINITIONS

           The terms herein shall be given the broadest meaning allowed under the Federal Rules of

   Civil Procedure and the Local Rules. Additionally, as used herein, the terms set forth below

   shall have the following meanings:

           1. “Plaintiff” means Apple Inc.

           2. “Corellium” and “Defendant” means Corellium, LLC and any of its predecessors,

   successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

   entities, including any agents or Person acting on their behalf or under their control.

           3. “You” and “Your” means Azimuth Security, LLC, and any of its predecessors,

   successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

   entities, including any agents or Person acting on their behalf or under their control.

           4. This “Action” means the present lawsuit, Apple Inc. v. Corellium, LLC, No. 9:19-cv-

   81160-RS, pending in the United States District Court for the Southern District of Florida.

           5. The term “iOS” or “iOS operating system” means Apple’s iOS mobile operating

   system and other Apple operating systems, including iPadOS™, macOS®, watchOS®, and

   tvOS® operating systems. Unless otherwise specified, this term includes any and all versions of

   iOS, separately or inclusively.

           6. The term “iOS Device” means any Apple device or hardware that runs any version of

   iOS, including but not limited to the iPhone®, Mac®, iPad®, Apple Watch®, AirPods®,

   AppleTV®, HomePod™, and iPod Touch®.

           7. “Virtual Device” means software that mimics the physical hardware, functionality,

   and/or look and feel of an iOS Device.



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          8.   “Corellium Apple Product” means all products developed, produced, or sold by

   Corellium that can enable creation of at least one Virtual Device. Unless otherwise specified,

   this term includes any and all versions of such products, separately or inclusively.

          9.   “Person” shall mean any natural person or any legal entity, including, without

   limitation, any business or governmental entity or association.

          10. “Communication(s)” or “Communicated” means all written, oral, telephonic, or other

   utterances of any nature whatsoever, shared, shown, and/or transferred between and/or among

   any Person(s), including, but not limited to, any statements, inquiries, discussions, conversations,

   dialogues, correspondence, consultations, negotiations, agreements, understandings, meetings,

   letters, emails, text messages, voice messages, faxes, notations, telegrams, advertisements,

   interviews, conferences, presentation, and all other Document(s).

          11. “Date” means the exact day, month and year, if ascertainable, or the best available

   approximation, including any relationship to other known events (designate whether exact or

   approximate).

          12. Electronically Stored Information,” abbreviated as “ESI” has the same meaning and

   scope as it has in the Federal Rules of Civil Procedure.

          13. “Document” means all documents, ESI, and tangible things in the broadest sense

   under Federal Rules of Civil Procedure 45 and Federal Rules of Evidence 1001, and means

   anything that can be read, viewed, heard, or otherwise understood. Subject to and in accordance

   with the Instructions infra, “Document” shall not be limited in any way with respect to medium,

   embodiment, or process of creation, generation, or reproduction; “Document” shall include,

   without limitation, all preliminary, intermediate, and final versions thereof, as well as any

   notations, comment, and marginalia (handwritten or otherwise) appearing thereon or therein;




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   “Document” shall include originals (or high quality duplicates), all non-identical copies or drafts,

   and all attachments, exhibits, or similar items. Any Document bearing on any sheet or side

   thereof, any marks, including, without limitation, initials, notations, comments, or marginalia of

   any character which are not part of the original text or reproduction thereof, shall be considered a

   separate Document.

          14. “Identify” means that the following information shall be provided:

                  a.   When used in reference to a Document, state the (i) type of Document; (ii)

                       general subject matter; (iii) Date of the Document; (iv) authors(s),

                       addressee(s) and recipient(s); and (v) any applicable Bates number(s).

                  b. When used in reference to a product, state: (i) the product’s external and

                       internal product names and numbers; (ii) the date range the product was

                       developed; and (iii) the date range the product was available for sale or

                       license.

                  c. When used in reference to any natural person, state: (i) the person’s full name;

                       (ii) last known home address; (iii) last known business address and telephone

                       number; (iv) last known title or occupation; (v) last known employer; and (vi)

                       if applicable, his or her connection to the subject matter of the request.

                  d. When used in reference to any legal entity, such as a corporation, company, or

                       person other than a natural person, state: (i) the entity’s name; (ii) the place of

                       incorporation or organization; (iii) the last known address and phone number

                       for its principal place of business; (iv) the type of entity (e.g., corporation,

                       partnership, trust); (v) the entity’s registered agent; and (vi) the nature of the

                       business conducted by the entity.




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                  e. When used in reference to any Communication, state: (i) its date and place;

                      (ii) the Person(s) who participated in it, were present during any part of it, or

                      have knowledge about it; (iii) its form (e.g., telephone conversation, text

                      message, email) and (iv) its content and substance.

          15. “Relating to,” “related to,” “referring to,” “regarding,” or “with respect to,” when

   referring to any given subject matter, means without limitation any information or Document that

   in whole or in part and directly or indirectly relates to, concerns, regards, discusses, describes,

   depicts, demonstrates, shows, evidences, supports, refutes, contradicts, summarizes, analyzes,

   assesses, bears upon, comments upon, pertains to, constitutes, comprises, involves, contains,

   embodies, reflects, alludes to, identifies, states, mentions, refers to, deals with, or is any way

   relevant to the particular subject matter identified.

          16. “All” should be construed to include the collective as well as the singular and shall

   mean “each,” “any,” and “every.”

          17. The connectives “and” and “or” shall be construed either disjunctively or

   conjunctively, as necessary, to bring within the scope of the Request all responses that might

   otherwise be construed to be outside the scope.

          18. “Any” shall be construed to mean “any and all.”

          19. “Including” shall be construed to mean “including without limitation.” “Including” is

   used to emphasize certain examples and should not be construed as limiting the Interrogatory in

   any way.

          20. The use of the singular term of any word includes the plural and vice versa.

          21. The past tense includes the present tense, and vice versa, when the clear meaning is

   not distorted by changing the tense.




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                                            INSTRUCTIONS

            1. The requests herein cover all Documents within Your possession, custody or control,

    regardless of whether they are currently in Your possession, including, but not limited to, all

    Documents within the possession, custody, or control of persons acting on Your behalf or at

    Your instruction.

            2. Pursuant to Federal Rule of Civil Procedure 45(e), You are instructed to produce

    Documents as they are kept in the usual course of business or organized and labeled to

    correspond with the categories in this Set of Requests. Such Documents shall be designated as

    responsive to the particular Request as designated herein. Documents are to be produced in full

    and unexpurgated form.

            3. All Documents that are in paper form or that constitute other physical objects from

    which information may be visually read or viewed, as well as audio or video tapes and similar

    recordings, shall be produced in their original form or in copies that are exact duplicates of the

    originals. All electronic Documents shall be produced in a commonly readable and searchable

    electronic form and shall include all metadata (i.e., information describing how, when, and by or

    to whom the electronic Document was collected, created, accessed, modified, formatted,

    distributed, etc.).

            4. If any Document covered by this Set of Requests is withheld by reason of a claim of

    privilege (including work product immunity), You shall furnish a list within 14 days identifying

    for each withheld Document: (1) the nature of the privilege (including work product) that is

    being claimed, (2) the type of Document withheld, (3) the general subject matter of the

    Document, (4) the date of the Documents and (5) such other information as is sufficient to

    Identify any withheld material, including, where applicable, the author(s) or source(s) of any




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    Document, the addressee(s) and recipient(s) of any Document, and where not apparent, the

    relationship of the author(s) or source(s) and addressee(s) or recipient(s) to each other.

           5. In the event that any Document called for by this Set of Requests has been destroyed,

    lost, discarded, or otherwise disposed of, any such Document is to be identified as completely as

    possible, including, without limitation, the following information: date of disposal, manner of

    disposal, reason for disposal, person authorizing disposal, and person who disposed of the

    Document.


                                  DOCUMENTS TO BE PRODUCED

    REQUEST FOR PRODUCTION NO. 1:

           All Documents and Communications relating to Corellium.

    REQUEST FOR PRODUCTION NO. 2:

           All Documents relating to Your use of the Corellium Apple Product, including the nature

    of Your use of the Corellium Apple Product, the length of Your use of the Corellium Apple

    Product, and any payments made to Corellium in exchange for use of the Corellium Apple

    Product.

    REQUEST FOR PRODUCTION NO. 3:

           All Documents and Communications relating to Your sale or resale of the Corellium

    Apple Product to third parties, including Documents sufficient to identify all customers who

    purchased (or who You otherwise provided access) to any feature, technology, component, or

    part of Corellium Apple Product from You, and all Communications with such customers.

    REQUEST FOR PRODUCTION NO. 4:

           All Documents and Communications relating to Christopher Wade.




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    REQUEST FOR PRODUCTION NO. 5:

           All Documents and Communications relating to, or constituting any license, agreement,

    contract, or covenant (whether written or oral) to which You are a part that covers or otherwise

    relates to the Corellium Apple Product or any feature, technology, component, or part thereof, or

    any technology in the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 6:

           All Documents and Communications relating to any license, agreement, contract, or

    covenant (whether written or oral) to which You are a part that covers or otherwise relates to

    reselling or otherwise providing access to any feature, technology, component, or part of

    Corellium’s products.

    REQUEST FOR PRODUCTION NO. 7:

           Documents sufficient to identify Your employees who use the Corellium Apple Product

    in the course of their employment.

    REQUEST FOR PRODUCTION NO. 8:

           Documents sufficient to identify any communications by You or any of Your employees

    to Apple based on the use of the Corellium Apple Product.




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  Case 9:19-cv-81160-RS Document 220-2 Entered on FLSD Docket 03/05/2020 Page 15 of 51

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RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                        WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
      LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP        % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                    VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
                                                                                  WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
   Quashing or Modifying a Subpoena.                                             WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                  QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                      XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
                                                                                  LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
      L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                               SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
      LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV               FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                           SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
      LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR      UHVROYHG
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      LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                        J &RQWHPSW
  % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
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                                   ATTACHMENT A
                      TO SUBPOENA FOR TESTIMONY AT A DEPOSITION

                                               DEFINITIONS

            The terms herein shall be given the broadest meaning allowed under the Federal Rules of

    Civil Procedure and the Local Rules. Additionally, as used herein, the terms set forth below

    shall have the following meanings:

            1. “Plaintiff” means Apple Inc.

            2.   “Corellium” and “Defendant” means Corellium, LLC and any of its predecessors,

    successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

    entities, including any agents or Person acting on their behalf or under their control.

            3. “You” and “Your” means Azimuth Security, LLC, and any of its predecessors,

    successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

    entities, including any agents or Person acting on their behalf or under their control.

            4. This “Action” means the present lawsuit, Apple Inc. v. Corellium, LLC, No. 9:19-cv-

    81160-RS, pending in the United States District Court for the Southern District of Florida.

            5. The term “iOS” or “iOS operating system” means Apple’s iOS mobile operating

    system and other Apple operating systems, including iPadOS™, macOS®, watchOS®, and

    tvOS® operating systems. Unless otherwise specified, this term includes any and all versions of

    iOS, separately or inclusively.

            6. The term “iOS Device” means any Apple device or hardware that runs any version of

    iOS, including but not limited to the iPhone®, Mac®, iPad®, Apple Watch®, AirPods®,

    AppleTV®, HomePod™, and iPod Touch®.

            7. “Virtual Device” means software that mimics the physical hardware, functionality,

    and/or look and feel of an iOS Device.



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           8.   “Corellium Apple Product” means all products developed, produced, or sold by

    Corellium that can enable creation of at least one Virtual Device. Unless otherwise specified,

    this term includes any and all versions of such products, separately or inclusively.

           9.   “Person” shall mean any natural person or any legal entity, including, without

    limitation, any business or governmental entity or association.

           10. “Communication(s)” or “Communicated” means all written, oral, telephonic, or other

    utterances of any nature whatsoever, shared, shown, and/or transferred between and/or among

    any Person(s), including, but not limited to, any statements, inquiries, discussions, conversations,

    dialogues, correspondence, consultations, negotiations, agreements, understandings, meetings,

    letters, emails, text messages, voice messages, faxes, notations, telegrams, advertisements,

    interviews, conferences, presentation, and all other Document(s).

           11. “Date” means the exact day, month and year, if ascertainable, or the best available

    approximation, including any relationship to other known events (designate whether exact or

    approximate).

           12. Electronically Stored Information,” abbreviated as “ESI” has the same meaning and

    scope as it has in the Federal Rules of Civil Procedure.

           13. “Document” means all documents, ESI, and tangible things in the broadest sense

    under Federal Rules of Civil Procedure 45 and Federal Rules of Evidence 1001, and means

    anything that can be read, viewed, heard, or otherwise understood. Subject to and in accordance

    with the Instructions infra, “Document” shall not be limited in any way with respect to medium,

    embodiment, or process of creation, generation, or reproduction; “Document” shall include,

    without limitation, all preliminary, intermediate, and final versions thereof, as well as any

    notations, comment, and marginalia (handwritten or otherwise) appearing thereon or therein;




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    “Document” shall include originals (or high quality duplicates), all non-identical copies or drafts,

    and all attachments, exhibits, or similar items. Any Document bearing on any sheet or side

    thereof, any marks, including, without limitation, initials, notations, comments, or marginalia of

    any character which are not part of the original text or reproduction thereof, shall be considered a

    separate Document.

           14. “Identify” means that the following information shall be provided:

                   a.   When used in reference to a Document, state the (i) type of Document; (ii)

                        general subject matter; (iii) Date of the Document; (iv) authors(s),

                        addressee(s) and recipient(s); and (v) any applicable Bates number(s).

                   b. When used in reference to a product, state: (i) the product’s external and

                        internal product names and numbers; (ii) the date range the product was

                        developed; and (iii) the date range the product was available for sale or

                        license.

                   c. When used in reference to any natural person, state: (i) the person’s full name;

                        (ii) last known home address; (iii) last known business address and telephone

                        number; (iv) last known title or occupation; (v) last known employer; and (vi)

                        if applicable, his or her connection to the subject matter of the request.

                   d. When used in reference to any legal entity, such as a corporation, company, or

                        person other than a natural person, state: (i) the entity’s name; (ii) the place of

                        incorporation or organization; (iii) the last known address and phone number

                        for its principal place of business; (iv) the type of entity (e.g., corporation,

                        partnership, trust); (v) the entity’s registered agent; and (vi) the nature of the

                        business conducted by the entity.




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                   e. When used in reference to any Communication, state: (i) its date and place;

                       (ii) the Person(s) who participated in it, were present during any part of it, or

                       have knowledge about it; (iii) its form (e.g., telephone conversation, text

                       message, email) and (iv) its content and substance.

           15. “Relating to,” “related to,” “referring to,” “regarding,” or “with respect to,” when

    referring to any given subject matter, means without limitation any information or Document that

    in whole or in part and directly or indirectly relates to, concerns, regards, discusses, describes,

    depicts, demonstrates, shows, evidences, supports, refutes, contradicts, summarizes, analyzes,

    assesses, bears upon, comments upon, pertains to, constitutes, comprises, involves, contains,

    embodies, reflects, alludes to, identifies, states, mentions, refers to, deals with, or is any way

    relevant to the particular subject matter identified.

           16. “All” should be construed to include the collective as well as the singular and shall

    mean “each,” “any,” and “every.”

           17. The connectives “and” and “or” shall be construed either disjunctively or

    conjunctively, as necessary, to bring within the scope of the Request all responses that might

    otherwise be construed to be outside the scope.

           18. “Any” shall be construed to mean “any and all.”

           19. “Including” shall be construed to mean “including without limitation.” “Including” is

    used to emphasize certain examples and should not be construed as limiting the Interrogatory in

    any way.

           20. The use of the singular term of any word includes the plural and vice versa.

           21. The past tense includes the present tense, and vice versa, when the clear meaning is

    not distorted by changing the tense.




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                                          LIST OF TOPICS

       1. Corellium and the Corellium Apple Product.

       2. Your use of the Corellium Apple Product.

       3. Your sale or resale of the Corellium Apple Product to third parties.

       4. Your knowledge of and communications with Christopher Wade.

       5. Any agreement to which You are a part that relates to the Corellium Apple Product or

          any of its technology.

       6. Any agreement to which You are a part that relates to reselling or otherwise providing

          access to any feature, technology, component, or part of Corellium’s products.

       7. The identity and role of Your employees who use the Corellium Apple Product in the

          course of their employment.




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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO. 9:19-cv-81160-RS

      APPLE INC.,

              Plaintiff,
      v.                                                                        DEC 13 2019
      CORELLIUM, LLC,                                                            ANGELA E. NOBLE
                                                                                CLERK U.S. DIST. CT.
                                                                                S.D. OF FLA. - W.P.B.
              Defendant.




                          AGREED PROTECTIVE ORDER
           REGARDING THE DISCLOSURE AND USE OF DISCOVERY MATERIALS

            Plaintiff Apple Inc. ("Plaintiff' or "Apple") and Defendant Corellium, LLC ("Defendant"

     or "Corellium") anticipate that documents, testimony, or information containing or reflecting

     confidential, proprietary, trade secret, and/or commercially sensitive information are likely to

     be disclosed or produced during the course of discovery, initial disclosures, and supplemental

     disclosures in this case and request that the Court enter this Order setting forth the conditions

     for treating, obtaining, and using such information.

            Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds good

     cause for the following Agreed Protective Order Regarding the Disclosure and Use of

     Discovery Materials ("Order" or "Protective Order").

             I.      PURPOSES AND LIMITATIONS

                     (a)    Protected Material designated under the terms of this Protective Order shall

     be used by a Receiving Party solely for this case and shall not be used directly or indirectly for any

     other purpose whatsoever, including any commercial purpose.




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                    (b)     The Parties acknowledge that this Order does not confer blanket protections

     on all disclosures during discovery, or in the course of making initial or supplemental disclosures

     under Rule 26(a). Designations under this Order shall be made with care and shall not be made

     absent a good faith belief that the designated material satisfies the criteria set forth below. If it

     comes to a Producing Party's attention that designated material does not qualify for protection at

     all, or does not qualify for the level of protection initially asserted, the Producing Party must

     promptly notify all other Parties that it is withdrawing or changing the designation.

            2.      DEFINITIONS

                    (a)     "Discovery Material" means all items or information, including from any

     non-party, regardless of the medium or manner generated, stored, or maintained (including, among

     other things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated

     in connection with discovery or Rule 26(a) disclosures in this case.

                    (b)     "Outside Counsel" means (i) outside counsel who appear on the pleadings

     as counsel for a Party and (ii) partners, associates, and staff of such counsel to whom it is

     reasonably necessary to disclose the information for this litigation.

                    (c)     "Party" means any party to this case, including all of its officers, directors,

     employees, consultants, retained experts, and outside counsel and their support staffs.

                    ( d)    "Producing Party" means any Party or non-party that discloses or produces

     any Discovery Material in this case.

                    (e)     "Protected Material" means any Discovery Material that is designated as

     "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS' EYES ONLY," or "CONFIDENTIAL

     - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE," as provided for in this Order.

     Protected Material shall not include: (i) advertising materials that have been actually published or


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     publicly disseminated; and (ii) materials that show on their face they have been disseminated to

     the public.

                    (f)     "Receiving Party" means any Party who receives Discovery Material from

     a Producing Party.

                    (g)     "Source Code" means computer code, scripts, assembly, binaries, object

     code, source code listings and descriptions of source code, object code listings and descriptions of

     object code, Hardware Description Language (HDL) or Register Transfer Level (RTL) files that

     describe the hardware design of any ASIC or other chip, and Computer Aided Design (CAb) files

     that describe the hardware design of any component.

             3.     COMPUTATION OF TIME

                    The computation of any period of time prescribed or allowed by this Order shall be

     governed by the provisions for computing time set forth in Rule 6 of the Federal Rules of Civil

     Procedure.


            4.      SCOPE

                    (a)     The protections conferred by this Order cover not only Discovery Material

     governed by this Order as addressed herein, but also any information copied or extracted

     therefrom, as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,

     conversations, or presentations b:y Parties or their counsel in court or in other settings that might

     reveal Protected Material.

                    (b)     Nothing in this Protective Order shall prevent or restrict a Producing Party's

     own disclosure or use of its own Protected Material for any purpose, and nothing in this Order

     shall preclude any Producing Party from showing its Protected Material to an individual who

     prepared the Protected Material.


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                      (c)    Nothing in this Order shall be construed to prejudice any Party's right to

     use any Protected Material in court or in any court filing with the consent of the Producing Party

     or by order of the Court.

                      (d)    This Order is without prejudice to the right of any Party to seek further or

     additional protection of any Discovery Material or to modify this Order in any way, including,

     without limitation, an order that certain matter not be produced at all.

                5.    DURATION

                      Even after the termination of this case, the confidentiality obligations imposed by

     this Order shall remain in effect until a Producing Party agrees otherwise in writing or a court order

     otherwise directs.

                6.    ACCESS TO AND USE OF PROTECTED MATERIAL

                     . (a)    Basic Principles. All Protected Material shall be used solely for this case

     or any related appellate proceeding, and not for any other purpose whatsoever, including without

     limitation any other litigation, patent prosecution or acquisition, patent reexamination or reissue

     proceedings, or any business or competitive purpose or function. Protected Material shall not be

     distributed, disclosed, or made available to anyone except as expressly provided in this Order.

                      (b)    Secure Storage, No Export.       Protected Material must be stored and

     maintained by a Receiving Party at a location in the United States and in a secure manner that

     ensures that access is limited to the persons authorized under this Order. To ensure compliance

     with applicable United States Export Administration Regulations, Protected Material may not be

     exp01ied outside the United States or released to any foreign national (even if within the United

     States).




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                    (c)     Legal Advice Based on Protected Material. Nothing int.his Protective Order

     shall be construed to prevent counsel from advising their clients with respect to this case based in

     whole or in part upon Protected Materials, provided counsel does not disclose the Protected

     Material itself except as provided in this Order.

                    (d)     Limitations. Nothing in this Order shall restrict in any way a Producing

     Party's use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any

     way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become

     publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or known

     to the Receiving Party independent of the Producing Party; (iii) previously produced, disclosed

     and/or provided by the Producing Party to the Receiving Party or a non-party without an

     obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

     Producing Party; or (v) pursuant to order of the Court.

            7.      DESIGNATING PROTECTED MATERIAL

                    (a)     Available Designations. Any Producing Party may designate Discovery

     Material with any of the following designations, provided that it meets the requirements for such

     designations as provided for herein: "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS'

     EYES ONLY," or "CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE

     CODE."

                    (b)     Written Discovery and Documents and Tangible Things.                 Written

     discovery, documents (which include "electronically stored information," as that phrase is used in

     Federal Rule of Procedure 34), and tangible things that meet the requirements for the

     confidentiality designations listed in Paragraph 7(a) may be so designated by placing the

     appropriate designation on every page of the written material prior to production. For digital files


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     being produced, the Producing Party may mark each viewable page or image with the appropriate

     designation, and mark the medium, container, and/or communication in which the digital files were

     contained.   In the event that original documents are produced for inspection, the original

     documents shall be presumed "CONFIDENTIAL - ATTORNEYS' EYES ONLY" during the

     inspection and re-designated, as appropriate, during the copying process.

                     (c)    Native Files. Where electronic files and documents are produced in native

     electronic format, such electronic files and documents shall be designated for protection under this

     Order by appending to the file names or designators information indicating whether the file

     contains     "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS' EYES ONLY," or

     "CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE," material, or

     shall use any other reasonable method for so. designating Protected Materials produced in

     electronic format When electronic files or documents are printed for use at deposition, in a court

     proceeding, or for provision in printed form to an expert or consultant pre-approved pursuant to

     paragraph 12, the party printing the electronic files or documents shall affix a legend to the printed

     document corresponding to the designation of the Designating Party and including the production

     number and designation associated with the native file. No one shall seek to use in this litigation

     a .tiff, .pdf or other image format version of a document produced in native file format without

     first (1) providing a copy of the image format version to the Producing Party so that the Producing

     Party can review the image to ensure that no information has been altered, and (2) obtaining the

     consent of the Producing Party, which consent shall not be unreasonably withheld.

                     (d)    Depositions and Testimony. Parties or testifying persons or entities may

     designate depositions and other testimony with the appropriate designation by indicating on the

     record at the time the testimony is given or by sending written notice of how portions of the transcript


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     of the testimony is designated within thirty (30) days of receipt of the transcript of the testimony.

     If no indication on the record is made, all information disclosed during a deposition shall be

     deemed "CONFIDENTIAL-ATTORNEYS' EYES ONLY" until the time within which it may

     be appropriately designated as provided for herein has passed. Any Party that wishes to disclose

     the transcript, or information contained therein, may provide written notice of its intent to treat the

     transcript as non-confidential, after which time, any Party that wants to maintain any portion of

     the transcript as confidential must designate the confidential portions within fourteen (14) days, or

     else the transcript may be treated as non-confidential. Any Protected Material that is used in the

     taking of a deposition shall remain subject to the provisions of this Protective Order, along with the

     transcript pages of the deposition testimony dealing with such Protected Material. In such cases

     the court reporter shall be informed of this Protective Order and shall be required to operate in a

     manner consistent with this Protective Order. In the event the deposition is videotaped, the original

     and all copies of the videotape shall be marked by the video technician to indicate that the contents

     of the videotape are subject to this Protective Order, substantially along the lines of "This videotape

     contains confidential testimony used in this case and is not to be viewed or the contents thereof

     to be displayed or revealed except pursuant to the terms of the operative Protective Order in

     this matter or pursuant to written stipulation of the parties." Counsel for any Producing Party

     shall have the right to exclude from oral depositions, other than the deponent, deponent's

     counsel, the reporter and videographer (if any), any person who is not authorized by this

     Protective Order to receive or access Protected Material based on the designation of such

     Protected Material.     Such right of exclusion shall be applicable only during periods of

     examination or testimony regarding such Protected Material.

             8.      DISCOVERY MATERIAL DESIGNATED AS "CONFIDENTIAL"


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                    (a)     A         Producing   Party    may     designate   Discovery     Material    as

     "CONFIDENTIAL" if it contains or reflects confidential, proprietary, and/or commercially

     sensitive information.

                    (b)       Unless otherwise ordered by the Court, Discovery Material designated as

     "CONFIDENTIAL" may be disclosed only to the following:

                            (i)         The Receiving Party's Outside Counsel, such counsel's immediate

     paralegals and staff, and any copying or clerical litigation support services working at the direction

     of such counsel, paralegals, and staff;

                            (ii)        Not more than three (3) representatives of the Receiving Party who

     are officers or employees of the Receiving Party, who may be, but need not be, in-house counsel

     for the Receiving Party, as well as their immediate paralegals and staff, to whom disclosure is

     reasonably necessary for this case, provided that: (a) each such person has agreed to be bound by

     the provisions of the Protective Order by signing a copy of Exhibit A; and (b) no unresolved

     objections to such disclosure exist after proper notice has been given to all Parties as set forth

     in Paragraph 12 below;

                              (iii)     Any outside expert or consultant retained by the Receiving Party to

     assist in this action, provided that disclosure is only to the extent necessary to perform such work;

     and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

     Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

     officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

     of retention to become an officer, director or employee of a Party or of a competitor of a·Party; (c)

     such expert or consultant accesses the materials in the United States only, and does not transport




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     them to or access them from any foreign jurisdiction; and (d) no unresolved objections to such

     disclosure exist after proper notice has been given to all Parties as set forth in Paragraph 12 below.

                              (iv)       Court reporters, stenographers and videographers retained to record

     testimony taken in this action;

                              (v)        The Court, jury, and court personnel;

                              (vi)       Graphics, translation, design, and/or trial consulting personnel,

     having first agreed to be bound by the provisions of the Protective Order by signing a copy of

     Exhibit A;

                              (vii)      Mock jurors who have signed an undertaking or agreement agreeing

     not to publicly disclose Protected Material and to keep any information concerning Protected

     Material confidential;

                              (viii)     Any mediator who is assigned to hear this matter, and his or her

     staff, subject to their agreement to maintain confidentiality to the same degree as required by this

     Protective Order; and

                              (ix)       Any other person with the prior written consent of the Producing

     Party.

              9.    DISCOVERY MATERIAL DESIGNATED                                AS   "CONFIDENTIAL -
                    ATTORNEYS' EYES ONLY"

                    (a)       A        Producing    Party   may     designate     Discovery   Material    as

     "CONFIDENTIAL- ATTORNEYS' EYES ONLY" if it contains or reflects information that is

     extremely confidential and/or sensitive in nature and the Producing Party reasonably believes that

     the disclosure of such Discovery Material is likely to cause economic harm or significant

     competitive disadvantage to the Producing Party. The Parties agree that the following information,

     if non-public, shall be presumed to merit the "CONFIDENTIAL - ATTORNEYS' EYES ONLY"

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      designation:   trade secrets, pricing information, financial data, sales information, sales or

      marketing forecasts or plans, business plans, sales or marketing strategy, product development

      information, engineering documents, testing documents, employee information, and other non-

      public info1mation of similar competitive and business sensitivity.

                     (b)     Unless otherwise ordered by the Court, Discovery Material designated as

      "CONFIDENTIAL -ATTORNEYS' EYES ONLY;' may be disclosed only to:

                             (i)     The Receiving Party'.s Outside Counsel, provided that such Outside

      Counsel is not involved in competitive decision-making, as defined by US. Steel v. United States,

      730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

      Outside Counsel's immediate paralegals and staff, and any copying or clerical litigation support

      services working at the direction of such counsel, paralegals, and staff;

                             (ii)    Any outside expert or consultant retained by the Receiving Party to

      assist in this action, provided that disclosure is only to the extent necessary to perform such work;

      and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

      Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

      officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

      of retention to become an officer, director, or employee of a Party or of a competitor of a Party;

      (c) such expert or consultant is not involved in competitive decision-making, as defined by US.

      Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a

      competitor of a Party; (d) such expert or consultant accesses the materials in the United States

      only, and does not transport them to or access them from any foreign jurisdiction; and (e) no

      unresolved objections to such disclosure exist after proper notice has been given to all Parties as

      set forth in Paragraph 12 below;


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                              (iii)     Court reporters, stenographers and videographers retained to record

      testimony taken in this action;

                              (iv)      The Court, jury, and court personnel;

                              (v)       Graphics, translation, design, and/or trial consulting personnel,

      having first agreed to be bound by the provisions of the Protective Order by signing a copy of

      Exhibit A;

                              (vi)    Any mediator who is assigned to hear this matter, and his or her

      staff, subject to their agreement to maintain confidentiality to the same degree as required by this

      Protective Order; and

                              (vii)     Any other person with the prior written consent of the Producing

      Party.

               10.   DISCOVERY MATERIAL . DESIGNATED AS "CONFIDENTIAL -
                     OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE"

                     (a)      To the extent production of Source Code becomes necessary to the

      prosecution or defense of the case, a Producing Party may designate Source Code as

      "CONFIDENTIAL-OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE" ifit comprises

      or includes confidential, proprietary, and/or trade secret Source Code.

                     (b)      Nothing in this Order shall be construed as a representation or admission

      that Source Code is properly discoverable in this action, or to obligate any Party to produce any

      Source Code.

                     (c)      Unless otherwise ordered by the Court, Discovery Material designated as

      "CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE" shall be

      subject to the provisions set forth in Paragraph 11 below, and may be disclosed, subject to

      Paragraph 11 below, solely to:

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                              (i)       The Receiving Party's Outside Counsel, provided that such Outside

      Counsel is not involved in competitive decision-making, as defined by US. Steel v. United States,

      730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and

      such Outside Counsel's immediate paralegals and staff, and any copying or clerical litigation

      support services working at the direction of such counsel, paralegals, and staff;

                              (ii)      Any outside expert or consultant retained by the Receiving Party to

      assist in this action, provided that disclosure is only to the extent necessary to perform such work;

      and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

      Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

      officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

      of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

      such expert or consultant is not involved in competitive decision-making, as defined by US. Steel

      v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of

      a Party; and (d) no unresolved objections to such disclosure exist after proper notice has been given

      to all Parties as set forth in Paragraph 12 below;

                              (iii)     Court reporters, stenographers and videographers retained to record

      testimony taken in this action;

                              (iv)      The Court, jury, and court personnel;

                              (v)       Any mediator who is assigned to hear this matter, and his or her

      staff, subject to their agreement to maintain confidentiality to the same degree as required by this

      Protective Order; and

                              (vi)      Any other person with the prior written consent of the Producing

      Party.


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              11.   DISCLOSURE AND REVIEW OF SOURCE CODE

                    (a)     Any Source Code that is produced by Apple shall be made available for

     inspection in electronic format at the Washington, D.C. office of its outside counsel, Latham &

     Watkins LLP, or any other location reasonably designated by Apple. Any Source Code that is

     produced by Corellium will be made available for inspection at the West Palm Beach, Florida

     office of its outside counsel, Cole, Scott & Kissane, P.A., or any other location reasonably

     designated by Corellium. Source Code will be made available for inspection between the hours

     of 9 a.m. and 5 p.m. on business days (i.e., weekdays that are not Federal holidays), although the

     Parties will be reasonable in accommodating reasonable requests to conduct inspections at other

     times.

                    (b)     Prior to the first inspection of any requested Source Code, the Receiving

     Party shall provide thirty (30) days notice. The Receiving Party shall provide seven (7) days notice

     prior to any additional inspections.

                    ( c)    Source Code that is designated "CONFIDENTIAL -                    OUTSIDE

     ATTORNEYS' EYES ONLY - SOURCE CODE" shall be produced for inspection and review

     subject to the following provisions, unless otherwise agreed by the Producing Party:

                            (i)     All Source Code shall be made available by the Producing Party to

     the Receiving Party's outside counsel and/or experts in a secure room on a secured computer

     without Internet access or network access to other computers and on which all access ports have

     been disabled (except for one printer port), as necessary and appropriate to prevent and protect

     against any unauthorized copying, transmission, removal or other transfer of any Source Code

     outside or away from the computer on which the Source Code is provided for inspection (the

     "Source Code Computer" in the "Source Code Review Room"). The Producing Party shall install


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      tools that are sufficient for viewing and searching the code produced, on the platform produced, if

      such tools exist and are presently used in the ordinary course of the Producing Party's business.

      The Receiving Party's outside counsel and/or experts may request that commercially available

      software tools for viewing and searching Source Code be installed on the secured computer,

      provided, however, that (a) the Receiving Party possesses an appropriate license to such software

      tools; (b) the Producing Party approves such software tools; and (c) such other software tools are

      reasonably necessary for the Receiving Party to perform its review of the Source Code consistent

      with all of the protections herein. The Receiving Party must provide the Producing Party with the

      CD or DVD containing such licensed software tool(s) at least twenty-one (21) days in advance of

      the date upon which the Receiving Party wishes to have the additional software tools available for

      use on the Source Code Computer.

                            (ii)    .No recordable media or recordable devices, including without

      limitation sound recorders, computers, cellular telephones, peripheral equipment, cameras, CDs,

      DVDs, or dr_ives of any kind, shall be permitted into the Source Code Review Room.

                            (iii)   In addition to the Source Code Computer, the Producing Party shall

      make available a Notetaking Computer for pu_rposes of enabling the Receiving Party's outside

      counsel and/or experts to take notes relating to the Source Code. The Receiving Party's outside

      counsel and/or experts may not copy the Source Code into the notes. The Producing Party shall

      make available a laser printer with commercially reasonable printing speeds for on-site printing of

      notes taken on the Notetaking Computer.

                            (iv)    The Producing Party may visually monitor the activities of the

      Receiving Patty's representatives during any Source Code review, but only to ensure that no




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      unauthorized electronic records of the Source Code and no information concerning the Source

      Code are being created or transmitted in any way.

                             (v)     No copies of all or any portion of the Source Code may leave the

      room in which the Source Code is inspected except as otherwise provided herein. Further, no

      other written or electronic record of the Source Code is permitted except as otherwise provided

      herein. The Producing Party shall make available a laser printer with commercially reasonable

      printing speeds for on-site printing during inspection of the Source Code. The Receiving Party

      may print limited portions of the Source Code only when necessary to prepare court filings or

      pleadings or other papers (including a testifying expert's expert report). The Receiving Party may

      print no more than ten (10) pages of a continuous block of Source Code. The Receiving Party may

      print out no more than 100 pages total. Any printed portion exceeding the continuous or total page

      limits shall be presumed to be excessive, and the burden shall be on the Receiving Party to

      demonstrate the need for additional printed pages of Source Code. The limits on continuous and

      total pages of printed Source Code may be increased only: (i) by agreement of the Parties or (ii)

      on a showing of good cause and subsequent order from the Court. The Receiving Party shall not

      print Source Code in order to review blocks of Source Code elsewhere in the first instance, i.e., as

      an alternative to reviewing that Source Code electronically on the Source Code Computer, as the

      Parties acknowledge and agree that the purpose of the protections herein would be frustrated by

      printing portions of code for review and analysis elsewhere, and that printing is permitted only

      when necessary to prepare court filings or pleadings or other papers (including a testifying expert's

      expert report). Upon printing any such portions of Source Code, the printed pages shall be

      collected by the Producing Party. The Producing Party shall Bates number, copy, and label

      "CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE" any pages


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      printed by the Receiving Party. Within seven (7) days, the Producing Party shall either (i) provide

      one copy set of such pages to the Receiving Party or (ii) inform the Requesting Party that it objects

      that the printed portions are excessive and/or not done for a permitted purpose. If, after meeting

      and conferring, the Producing Party and the Receiving Party cannot resolve the objection, the

      Receiving Party shall be entitled to seek a Court resolution of whether the printed Source Code in

      question is narrowly tailored and was printed for a permitted purpose. The burden shall be on the

      Receiving Party to demonstrate that such printed portions are no more than is reasonably necessary

      for a permitted purpose and not merely printed for the purposes of review and analysis elsewhere.

      The printed pages shall constitute part of the Source Code produced by the Producing Party in this

      action.

                             (vi)    All persons who will review a Producing Party's Source Code on

      behalf of a Receiving Party, including members of a Receiving Party's outside law firm, shall be

      identified in writing to the Producing Party at least five (5) days in advance of the first time that

      such person reviews such Source Code. Such identification shall be in addition to any other

      disclosure required under this Order. All persons viewing Source Code shall sign on each day they

      view Source Code a log that will include the names of persons who enter the Source Code Review

      Room to view the Source Code and when they enter and depart. The Receiving Party shall provide

      and maintain the log in .the Source Code Review Room, and the Receiving Party shall leave the

      completed log ~n the Source Code Review Ro.om. The Receiving Party shall be entitled to a copy

      of the Jog upon five (5) days advance notice to the Producing Party.

                             (vii)   Unless otherwise agreed in advance by the Parties in writing,

      following each day on which inspection is done under this Order, the Receiving Party's outside

      counsel and/or experts shall remove all notes, documents, and all other materials from the Source


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     Code Review Robm. The Producing Party shall not be responsible for any items left in the room

     following each inspection session, and the Receiving Party shall have no expectation of

     confidentiality for any items left in the room following each inspection session without a prior

     agreement to that effect. Proper identification of all authorized persons shall be provided prior

     to any access to the secure room or the computer containing Source Code. Proper identification

     requires showing, at a minimum, a photo identification card sanctioned by the government of any

     State of the United States, by the government of the United States, or by the nation state of the

     authorized person's current citizenship. Access to the secure room or the Source Code Computer

     may be denied, at the discretion of the supplier, to any individual who fails to provide proper

     identification.

                            (viii)   Other than as provided above, the Receiving Party will not copy,

     remove, or otherwise transfer any Source Code from the Source Code Computer including, without

     limitation, copying, removing, or transferring the Source Code onto any recordable media or

     recordable device. The Receiving Party will not transmit any Source Code in any way from the

     Producing Party's facilities or the offices of its outside counsel of record.

                            (ix)     The Receiving Party's outside counsel ofrecord may make no more

     than three (3) additional paper copies of any portions of the Source Code received from a

     Producing Party pursuant to Paragraph ll(c)(v), not including copies attached to court filings or

     used at depositions, and shall maintain a log of all paper copies of the Source Code. The log shall

     include the names of the reviewers and/or recipients of paper copies and locations where the paper

     copies are stored. Upon one (1) day's advance notice to the Receiving Party by the Producing

     Party, the Receiving Party shall provide a copy of this log to the Producing Party.




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                              (x)     The Receiving Party's outside counsel of record and any person

      receiving a copy of any Source Code shall maintain and store any paper copies of the Source Code

      at their offices in a manner that prevents duplication of or unauthorized access to the Source Code,

      including, without limitation, storing the Source Code in a locked room or cabinet at all times

      when it is not in use. No more than a total of ten (10) individuals identified by the Receiving Party

      shall have access to the printed portions of Source Code (except insofar as such code appears in

      any court filing or expert report).

                              (xi)    For depositions, the Receiving Party shall not bring copies of any

      printed Source Code. Rather, at least ten (10) days before the date of the deposition, the Receiving

      Party shall notify the Producing Party about the specific portions of Source Code it wishes to use at

      the deposition, and the Producing Party shall bring printed copies of those portions to the deposition

      for use by the Receiving Party. Copies of Source Code that are marked as deposition exhibits shall

      not be provided to the Court Reporter or attached to deposition transcripts; rather, the deposition

      record will identify the exhibit by its production numbers. All paper copies of Source Code

      brought to the deposition shall remain with the Producing Counsel's outside counsel for secure

      destruction in a timely manner following the deposition.

                              (xii)   Except as provided in this sub-paragraph, absent express written

      permission from the Producing Party, the Receiving Party may not create electronic images, or

      any other images, or make electronic copies, of the Source Code from any paper copy of Source

      Code for use in any manner (including by way of example only, the Receiving Party may not scan

      the Source Code to a PDF or photograph the code). Images or copies of Source Code shall not be

      included in correspondence between the Parties (references to production numbers shall be used

      instead), and shall be omitted from pleadings and other papers whenever possible. If a Party


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      reasonably believes that it needs to submit a portion of Source Code as part of a filing with the

      Court, the Parties shall meet and confer as to how to make such a filing while protecting the

      confidentiality of the Source Code and such Source Code will not be filed absent agreement from

      the Producing Party that the confidentiality protections will be adequate. If a Producing Party

      agrees to produce an electronic copy of all or any portion of its Source Code or provide written

      permission to the Receiving Party that an electronic or any other copy needs to be made for a Court

      filing, access to the Receiving Party's submission, communication, and/or disclosure of electronic

      files or other materials containing any portion of Source Code (paper or electronic) shall at all

      times be limited solely to individuals who are expressly authorized to view Source Code under the

      provisions of this Order. Where the Producing Party has provided the express written permission

      required under this provision for a Receiving Party to create electronic copies of Source Code, the

      Receiving Party shall maintain a log of all such electronic copies of any portion of Source Code in

      its possession or in the possession of its retained consultants, including the names of the reviewers

      and/or recipients of any such electronic copies, and the locations and manner in which the

      electronic copies are stored.          Additionally, any .such electronic copies must be labeled

      "CONFIDENTIAL - ATTORNEYS' EYES ONLY - SOURCE CODE" as provided for in this

      Order.

               12.    NOTICE OF DISCLOSURE

                      (a)     Prior to disclosing any Protected Material to any person described in

      Paragraphs 8(b )(ii), 8(b )(iii), 9(b)(ii), or 10(c)(ii) (referenced below as "Person"), the Party seeking

      to disclose .such information shall provide the Producing Party with written notice that includes: .

               (i) the name of the Person;

               (ii) an up-to-date curriculum vitae of the Person;


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             (iii) the present employer and title of the Person;

             (iv) an identification of all of the Person's past and current employment and consulting

                     relationships, including direct relationships and relationships through entities

                     owned or controlled by the Person, including but not limited to an identification of

                     any individual or entity with or for whom the person is employed or to whom the

                     person provides consulting services relating to the design, development, operation,

                     or patenting of virtualization, encryption or data protection, or system, application

                     or network security technologies, or relating to the acquisition of intellectual

                     property assets relating to virtualization, encryption or data protection, or system,

                     application or network security technologies;

             (v) an identification of all pending patent applications on which the Person is named as an

                     inventor, in which the Person has any ownership interest, or as to which the Person

                     has had or anticipates in the future any involvement in advising on, consulting on,

                     preparing, prosecuting, drafting, editing, amending, or otherwise affecting the

                     scope of the claims; and

             (vi) a list of the cases in which the Person ha~ testified at deposition or trial within the last

                     five (5) years.

      Further, the Party seeking to disclose Protected Material shall provide such other information

      regarding the Person's professional activities reasonably requested by the Producing Party for it to

      evaluate whether good cause exists to object to the disclosure of Protected Material to the outside

      expert or consultant. During the pendency of and the final resolution of this action, including all

      appeals, the Party seeking to disclose Protected Material shall immediately provide written notice

      of any change with respect to the Person's involvement in the design, development, operation or


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      patenting of virtualization, encryption or data protection, or system, application or network

      security technologies, or the acquisition of intellectual property assets relating to virtualization,

      encryption or data protection, or system, application or network security technologies.

                       (b)   Within seven (7) days of receipt of the disclosure of the Person, the

      Producing Party or Parties may object in writing to the Person for good cause. In the absence of

      an objection at the end of the seven (7) day period, the Person shall be deemed approved under

      this Protective Order. There shall be no disclosure of Protected Material to the Person prior to

      expiration of this seven (7) day period. If the Producing Party objects to disclosure to the Person

      within such seven (7) day period, the Parties shall meet and confer via telephone or in person

      within seven (7) days following the objection and attempt in good faith to resolve the dispute on

      an informal basi_s. If the dispute is not resolved, the Party objecting to the disclosure will have ten

      (I 0) days from the date of the meet and confer to seek relief from the Court. If relief is not sought

      from the Court within that time, the objection shall be deemed withdrawn. If relief is sought,

      designated materials shall not be disclosed to the Person in question until the Court resolves the

      objection.

                       (c)   For purposes of this section, "good cause" shall include an objectively

      reasonable concern that the Person will, advertently or inadvertently, use or disclose Discovery

      Materials irt a way or ways that are inconsistent with the provisions contained in this Order.

                       (d)   Prior to receiving any Protected Material under this Order, the Person must

      execute a copy of the "Agreement to Be Bound by Protective Order" (Exhibit A hereto) and serve

      it on all Parties.

                       (e)   An initial failure to object to a Person under this Paragraph 12 shall not

      preclude the nonobjecting Party from later objecting to continued access by that Person for good


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      cause. If an objection is made, the Parties shall meet and confer via telephone or in person within

      seven (7) days following the objection and attempt in good faith to resolve the dispute informally.

      If the dispute is not resolved, the Party objecting to the disclosure will have seven (7) days from

      the date of the meet and confer to seek relief from the Court. The designated Person may continue

      to have access to information that was provided to such Person prior to the date of the objection.

      If a later objection is made, no further Protected Material shall be disclosed to the Person until the

      Court resolves the matter or the Producing Party withdraws its objection. Notwithstanding the

      foregoing, if the Producing Party fails to move for a protective order within seven (7) business

      days after the meet and confer, further Protected Material may thereafter be provided to the Person.

              13.,   CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL

                     (a)     A Party shall not be obligated to challenge the propriety of any designation

      of Discovery Material under this Order at the time the designation is ma.de, and a failure to do so

      shall not preclude a subsequent challenge thereto.

                     (b)     Any challenge to a designation of Discovery Material under this Order shall

      be written, shall be served on outside counsel for the Producing Party, shall particularly identify

      the documents or information that the Receiving Party contends should be differently designated,

      and shall state the grounds for the objection. Thereafter, further protection of such material shall

      be resolved in accordance with the following procedures:

                             (i)     Th~ objecting Party shall have the burden of conferring either in

      person, in writing, or by telephone with the Producing Party claiming protection (as well as any

      other interested party) in a good faith effoti to resolve the dispute. The Producing Party shall have

      the burden of justifying the disputed designation;




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                             (ii)    Failing agreement, the Receiving Party may bring a motion: to the

      Court for a ruling that the Discovery Material in question is not entitled to the status and protection

      of the Producing Party's designation. The Parties' entry into this Order shall not preclude or

     prejudice either Party from arguing for or against any designation, establish any presumption that

      a particular designation is valid, or alter the burden of proof that would otherwise apply in a dispute

      over discovery or disclosure of information;

                             (iii)   Notwithstanding any challenge to a designation, the Discovery

      Material in question shall continue to be treated as designated under this Order until one of the

      following occurs: (a) the Party who designated the Discovery Material in question withdraws

      such designation in writing; or (b) the Court rules that the Discovery Material in question is

      not entitled to the designation.

            · 14.    SUBPOENAS OR COURT ORDERS

                     If at any time Protected Material is subpoenaed by any court, arbitral,

      administrative, or legislative body, the Party to whom the subpoena or other request is directed

      shall immediately give prompt written notice thereof to every Party who has produced such

      Discovery Material and to its counsel and shall provide each such Party with an opportunity to

      move for a protective order regarding the production of Protected Materials implicated by the

      subpoena.

              15.    FILING PROTECTED MATERIAL

                     (a)     Absent written permission from the Producing Party or a court Order

      secured after appropriate notice to all interested persons, a Receiving Party may not file or disclose

      in the public record any Protected Material. .




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                     (b)     Any Party is authorized under Rule 5.4 of the Southern District of Florida

      Local Rules to file under seal with the Court any brief, document or materials that are designated

      as Protected Material under this Order. However, nothing in this section shall in any way limit or

      detract from this Order's requirements as to Source Code.

              16.    INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

                     (a)     The inadvertent production by a Party of Discovery Material subject to the

      attorney-client privilege, work-product protection, or any other applicable privilege or protection,

      despite the Producing Party's reasonable efforts to prescreen such Discovery Material prior to

      production, will not waive the applicable privilege and/or protection if a request for return of such

      inadvertently produced Discovery Material is made promptly after the Producing Party learns of

      its inadvertent production.

                     (b)     Upon a request from any Producing Party who has inadvertently produced

      Discovery Material that it believes is privileged and/or protected, each Receiving Party shall

      immediately return such Protected Material or Discovery Material and all copies to the Producing

      Party, except for any pages containing privileged markings by the Receiving Party which shall

      instead be destroyed and certified as such by the Receiving Party to the Producing Party.

              17.    INADVERTENT FAILURE TO DESIGNATE PROPERLY

                     (a)     The inadvertent failure by a Producing Party to designate Discovery

      Material as Protected Material with one of the designations provided for under this Order shall not

      waive any such designation provided that the Producing Party notifies all Receiving Parties that

      such Discovery Material is protected under one of the categories of this Order within fourteen (14)

      days of the Producing Party learning of the inadvertent failure to designate. The Producing Party

      shall reproduce the Protected Material with the correct confidentiality designation within seven (7)


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      days upon its notification to the Receiving Parties. Upon receiving the Protected Material with the

      correct confidentiality designation, the Receiving Parties shall return or securely destroy, at the

      Producing Party's option, all Discovery Material that was not designated properly.

                     (b)     A Receiving Party shall not be in breach of this Order for any use of such

      Discovery Material before the Receiving Party receives such notice that such Discovery Material

      is protected under one of the categories of this Order, unless an objectively reasonable person

      would have realized that the Discovery Material should have been appropriately designated with

      a confidentiality designation under this Order. Once a Receiving Party has received notification

      of the correct confidentiality designation for the Protected Material with the correct confidentiality

      designation, the Receiving Party shall treat such Discovery Material (subject to the exception in

      Paragraph 17(c) below) at the appropriately designated level pursuant to the terms of this Order.

                     (c)     Notwithstanding         the   above,    a    subsequent     designation      of

      "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS' EYES ONLY" or "CONFIDENTIAL

      -ATTORNEYS' EYES ONLY - SOURCE CODE" shall apply on a going forward basis and shall

      not disqualify anyone who reviewed "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS'

      EYES ONLY" or "CONFIDENTIAL - ATTORNEYS' EYES ONLY - SOURCE CODE"

      materials while the materials were not marked "CONFIDENTIAL - ATTORNEYS' EYES

      ONLY" or "CONFIDENTIAL - ATTORNEYS' EYES ONLY - SOURCE CODE" from

      engaging in the activities set forth herein.

              18.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER

                      (a)     In the event of a disclosure of any Discovery Material pursuant to this Order

      to any person or persons not authorized to receive such disclosure under this Protective Order, the

      Party responsible for having made such disclosure, and each Party with knowledge thereof, shall


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      immediately notify counsel for the Producing Party whose Discovery Material has been disclosed

      and provide to such counsel all known relevant information concerning the nature and

      circumstances of the disclosure. The responsible disclosing Party shall also promptly take all

      reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that no

      further or greater unauthorized disclosure and/or use thereof is made

                     (b)     Unauthorized or inadvertent disclosure does not change the status of

      Discovery Material or waive the right to hold the disclosed document or information as Protected.

             19.     FINAL DISPOSITION

                     (a)     Not later than ninety (90) days after the Final Disposition of this case, each

      Party shall return all Discovery Material of a Producing Party to the respective outside counsel of

      the Producing Party or destroy such Material, at the option of the Producing Party. For purposes

      of this Order, "Final Disposition" occurs after an order, mandate, or dismissal finally terminating

      the above-captioned action with prejudice, including all appeals.

                     (b)     All Parties that have received any such Discovery Material shall certify in

      writing that all such materials have been returned to the respective outside counsel of the Producing

      Party or destroyed. Notwithstanding the provisions for return of Discovery Material, outside

      counsel may retain one set of pleadings, correspondence and attorney and consultant work product

      (but not document productions) for archival purposes, but must return any pleadings,

      correspondence, and consultant work product that contain Source Code.

             20.     DISCOVERY FROM EXPERTS OR CONSULTANTS

                     (a)     Absent good cause, drafts of reports of testifying experts, regardless of the

      form in which the draft is recorded, and reports, including drafts, of consulting experts, shall not

      be discoverable.


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                      (b)     Testifying experts shall not be subject to discovery with respect to any draft

      of his or her report(s) in this case. Draft reports, notes or outlines for the drafting reports developed

      and drafted by the testifying expert and/or his or her staff are also exempt from discovery.

                      (c)     Discovery of materials provided to testifying experts shall be limited to

      those materials, facts, consulting expert opinions, and other matters actually relied upon by the

      testifying expert in forming his or her final report, trial, or deposition testimony or any opinion in

      this case. No discovery can be taken from any non-testifying expert except to the extent that such

      non-testifying expert has provided information, opinions, or other materials to a testifying expert

      relied upon by that testifying expert in forming his or her final report(s), trial, and/or deposition

    · testimony or any opinion in this case or that is otherwise discoverable under Rule 26(b)(4)(D).

                      (d)     No conversations or communications between counsel and any testifying or

      consulting expert will be subject to discovery unless the conversations or communications are

      relied upon by such experts in formulating opinions that are presented in reports or trial or

      deposition testimony in this case.

                      (e)     Materials, communications, and other information exempt from discovery

      under the foregoing Paragraphs 20(a)-(d) shall be treated as attorney-work product for the

      purposes of this litigation and Order.

                      (t)     Nothing in this Protective Order, including Paragraphs 20(a)-(e), shall alter

      or change in any way the requirements in Paragraph 11 regarding Source Code, and Paragraph 11

      shall control in the event of any conflict.

              21.     MISCELLANEOUS

                      (a)     Right to Further Relief. Nothing in this Order abridges the right of any

      person to seek its m?dification by the Court in the future. By stipulating to this Order, the Parties


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      do not waive the right to argue that certain material may require additional or different

      confidentiality protections than those set forth herein.

                     (b)     Termination of Matter and Retention of Jurisdiction. The Parties agree that

      the terms of this Protective Order shall survive and remain in effect after the Final Determination

      of the above-captioned matter. The Court shall retain jurisdiction after Final Dete1mination of this

      matter to hear and resolve any disputes arising out of this Protective Order.

                     (c)     Successors. This Order shall be binding upon the Parties hereto, their

      attorneys, and their successors, executors, personal representatives, administrators, heirs, legal

      representatives, assigns, subsidiaries, divisions, employees, agents, retained consultants and

      experts, and any persons or organizations over which they have direct control.

                     (d)     Right to Assert Other Objections.       By stipulating to the entry of this

      Protective Order, no Party waives any right it otherwise would have to object to disclosing or

      producing any information or item. Similarly, no Party waives any right to object on any ground

      to use in evidence of any of the material covered by this Protective Order. This Order shall not

      constitute a waiver of the right of any Party to claim in this action or otherwise that any Discovery

      Material, or any portion thereof, is privileged or otherwise non-discoverable, or is not admissible

      in evidence in this action or any other proceeding.

                     (e)     Burdens of Proof. Notwithstanding anything to the contrary above, nothing

      in this Protective Order shall be construed to change the burdens of proof or legal standards

      applicable in disputes regarding whether particular Discovery Material is confidential, which level

      of confidentiality is appropriate, whether disclosure should be restricted, and if so, what

      restrictions should apply.




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                     (f)     Modification by Court. This Order is subject to further court order based

      upon public policy or other considerations, and the Court may modify this Order sua sponte in the

      interests of justice. The United States District Court for the Southern District of Florida is

      responsible for the interpretation and enforcement of this Order. All disputes concerning Protected

      Material, however designated, produced under the protection of this Order shall be resolved by the

      United States District Court for the Southern District of Florida.

                     (g)     Discovery Rules Remain Unchanged. Nothing herein shall alter or change

      in any way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for

      the United States District Court for the Southern District of Florida, or the Court's own orders.

      Identification of any individual pursuant to this Protective Order does not make that individual

      available for deposition or any other form of discovery outside of the restrictions and procedures

      of the Federal Rules of Civil Procedure, the Local Rules for the United States District Court for

      the Southern District of Florida, or the Court's own orders.



      SO ORDERED.




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                                               EXHIBIT A



               I,                                 , acknowledge and declare that I have received a

      copy of the Protective Order ("Order") in Apple Inc. v. Core Ilium, LLC, United States District

      Court, Southern District of Florida, Civil Action No. 9:19-cv-81160-RS. Having read and

      understood the terms of the Order, I agree to be bound by the terms of the Order and consent

      to the jurisdiction of said Court for the purpose of any proceeding to enforce the terms of the

      Order.


               Name of individual:

               Present occupation/job description: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




               Name of Company or Firm:

               Address:


               Dated:
                        ----------


                                                         [Signature]




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